Case 8:18-cr-00492-JDW-JSS Document 106 Filed 04/06/20 Page 1 of 14 PageID 415
               Case: 19-11232 Date Filed: 04/06/2020 Page: 1 of 13



                                                          [DO NOT PUBLISH]



               IN THE UNITED STATES COURT OF APPEALS

                       FOR THE ELEVENTH CIRCUIT
                         ________________________

                               No. 19-11232
                           Non-Argument Calendar
                         ________________________

                  D.C. Docket No. 8:18-cr-00492-JDW-JSS-2



 UNITED STATES OF AMERICA,

                                                  Plaintiff - Appellee,


                                    versus


 BREANNA KNIGHTS,

                                                  Defendant - Appellant.

                         ________________________

                  Appeal from the United States District Court
                      for the Middle District of Florida
                        ________________________

                                (April 6, 2020)

 Before JILL PRYOR, LAGOA and HULL, Circuit Judges.

 PER CURIAM:
Case 8:18-cr-00492-JDW-JSS Document 106 Filed 04/06/20 Page 2 of 14 PageID 416
               Case: 19-11232 Date Filed: 04/06/2020 Page: 2 of 13



       Breanna Knights appeals her 36-month sentence, which the district court

 imposed after she pled guilty to one count of having distributed and possessed

 heroin with the intent to distribute it and one count of having distributed and

 possessed cocaine base with the intent to distribute it. On appeal, Knights argues

 that the district court made two errors in calculating her sentence: first, the court

 applied a two-level enhancement to her offense level under the Sentencing

 Guidelines for possessing a dangerous weapon, and second, the court refused to

 apply a two-level reduction to her base offense level for her minor role in the

 transactions. After careful review, we reject both of Knights’s challenges. We

 thus affirm her sentence.

                                 I.     BACKGROUND

       A grand jury issued an 11-count indictment against Knights, Donald Dussell,

 and another co-defendant. Knights alone was charged in Counts Two and Seven of

 the indictment. Knights pled guilty to Count Two, which charged her with

 knowingly and intentionally distributing and possessing with intent to distribute a

 mixture containing a detectable amount of heroin in violation of 21 U.S.C.

 §§ 841(a)(1) and 841(b)(1)(C). Knights also pled guilty to Count Seven, which

 charged her with knowingly and intentionally distributing and possessing with

 intent to distribute a mixture containing a detectable amount of cocaine base in

 violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C).


                                            2
Case 8:18-cr-00492-JDW-JSS Document 106 Filed 04/06/20 Page 3 of 14 PageID 417
               Case: 19-11232 Date Filed: 04/06/2020 Page: 3 of 13



       In preparation for sentencing, a probation officer prepared the Presentence

 Investigation Report (“PSR”), which set forth the following facts regarding the two

 transactions for which Knights pled guilty and two related transactions with which

 she was involved. This case arises out of transactions in which Knights and

 Dussell, her live-in boyfriend, sold drugs, weapons, and ammunition to a

 confidential informant (“CI”) and an undercover agent from the Bureau of

 Alcohol, Tobacco, Firearms, and Explosives (“ATF”). Before the first transaction,

 the CI informed the ATF agent that Dussell had offered to sell heroin. The CI and

 the ATF agent met Knights and Dussell at a residence in Hudson, Florida to

 purchase drugs and a firearm. During the transaction, Knights retrieved a bag of

 heroin from her shirt and handed it to Dussell. After Knights handed over the

 drugs, the CI paid Dussell $80. During the same transaction, Dussell sold the CI

 and the ATF agent a stolen 9mm pistol for $600. This transaction was the basis for

 Count Two of the indictment.

       Before the second transaction, Dussell texted the CI that he had a shotgun

 and some police gear for sale. When the CI and ATF agent met Dussell for a

 second time in Port Richey, Florida, Knights again was present. During this

 transaction, the ATF agent bought two pistols, a shotgun, ammunition, and

 assorted police equipment for $1,100. The ATF agent also bought cocaine base for




                                          3
Case 8:18-cr-00492-JDW-JSS Document 106 Filed 04/06/20 Page 4 of 14 PageID 418
               Case: 19-11232 Date Filed: 04/06/2020 Page: 4 of 13



 $1,000; Knights handed the agent the drugs. This transaction was the basis for

 Count Seven of the Indictment.

       During the third transaction, the CI and the ATF agent met Dussell at a

 motel in New Port Richey, Florida, where they bought a revolver and ammunition

 for $250. Knights entered the motel room during the transaction, and the four

 individuals discussed the possibility of the CI and the ATF agent collecting drug

 debts for Dussell. Knights produced a list of Dussell’s debtors, identified specific

 customers and complaints she had about them, and commented on the potential

 collection of the drug debts.

       The CI and ATF agent met Dussell and Knights at the same motel for the

 fourth transaction. When the ATF agent asked what type of drugs Dussell had for

 sale, Knights answered “ice cream,” slang for methamphetamine. As Dussell and

 the ATF agent negotiated the price for the methamphetamine, Knights noted that

 the price would have been different if she and Dussell were in a different financial

 situation. Dussell sold the CI and ATF agent two pistols, ammunition, and

 methamphetamine for $1,600. Knights later admitted that she had known about

 Dussell’s drug and firearm business but claimed that she was not a participant in it.

       Based on the quantity of drugs involved in the two transactions, the

 probation officer calculated a base offense level of 18. The probation officer

 suggested a two-level enhancement under U.S.S.G. § 2D1.1(b)(1) because a


                                           4
Case 8:18-cr-00492-JDW-JSS Document 106 Filed 04/06/20 Page 5 of 14 PageID 419
               Case: 19-11232 Date Filed: 04/06/2020 Page: 5 of 13



 firearm was present during the transactions and a three-level reduction under

 U.S.S.G. §§ 3E1.1(a) and 3E1.1(b) for Knights’s timely acceptance of

 responsibility, bringing her total offense level to 17. Based on a criminal history

 category of IV, the resulting advisory guidelines range was 37-46 months’

 imprisonment. The district court adopted the facts as set forth in the PSR.

       At the sentencing hearing, Knights objected to the two-level enhancement

 for possession of a firearm during the offense, arguing that at no point did she

 possess a weapon. The district court overruled the objection, finding the

 enhancement applicable because: (1) the sale of the drugs were combined with the

 sale of the weapons and were part of the jointly undertaken criminal activity, (2)

 the sale of the weapons furthered the drug transactions, (3) Knights knew Dussell

 sold both drugs and guns, (4) Knights participated in the drug sales, and (5)

 Knights could have reasonably foreseen that Dussell would possess guns in

 connection with the drug sales.

       At the sentencing hearing Knights also argued for a reduction in her offense

 level under U.S.S.G. § 3B1.2(b) based on her minor role in the transactions.

 Knights characterized her role in the transactions as limited to serving as a “human

 safe, at Dussell’s request.” Doc. 40 at 27.1 She noted that she did not organize or

 plan the criminal activity and that the evidence failed to show that she benefited


       1
           “Doc. #” refers to the numbered entry on the district court’s docket.
                                                  5
Case 8:18-cr-00492-JDW-JSS Document 106 Filed 04/06/20 Page 6 of 14 PageID 420
               Case: 19-11232 Date Filed: 04/06/2020 Page: 6 of 13



 directly from the transactions. The district court denied the minor role reduction.

 The court reasoned that Knights failed to show she was substantially less culpable

 than Dussell because: (1) she possessed the drugs sold to the CI and ATF agent,

 (2) she was intimately familiar with the deals because she produced the customer

 list and knew details about the customers, (3) she informed the ATF agent that

 Dussell had “ice cream” for sale during one of the transactions, and (4) during the

 discussions about the price of methamphetamine she used terms such as “us” and

 “we.” Doc. 51 at 18-21. The court also pointed out that Knights conceded that her

 living with Dussell reasonably supported the inference that she benefited from the

 drug sales, and that her concerns about customer debts and her interactions with

 customers suggested that she helped plan and exercised some decision-making

 authority regarding the drug sales.

       The district court sentenced Knights to 36 months in prison. This appeal

 followed.

                          II.    STANDARD OF REVIEW

       When reviewing a district court’s application of the Sentencing Guidelines,

 we review “purely legal questions de novo, a district court’s factual findings for

 clear error, and, in most cases, a district court’s application of the guidelines to the

 facts with ‘due deference.’” United States v. Rodriguez-Lopez, 363 F.3d 1134,

 1136-37 (11th Cir. 2004) (citation omitted). “Due deference” in this context is


                                            6
Case 8:18-cr-00492-JDW-JSS Document 106 Filed 04/06/20 Page 7 of 14 PageID 421
               Case: 19-11232 Date Filed: 04/06/2020 Page: 7 of 13



 tantamount to clear error review. See United States v. White, 335 F.3d 1314, 1318-

 19 (11th Cir. 2003). “A factual finding is clearly erroneous when, upon review of

 the evidence, we are left with a definite and firm conviction a mistake has been

 made.” United States v. Dimitrovski, 782 F.3d 622, 628 (11th Cir. 2015) (citation

 omitted).

                                 III.   DISCUSSION

 A.    The District Court Did Not Clearly Err in Enhancing Knights’s
       Sentence for Possessing a Dangerous Weapon in Connection with Her
       Crime.
       The district court applied to Knights’s offense level a two-level

 enhancement for possessing a dangerous weapon in connection with the drug sales,

 pursuant to U.S.S.G. § 2D1.1(b)(1). Knights challenges the increase in offense

 level, claiming that she never possessed the gun herself. We conclude that the

 district court did not clearly err in attributing Dussell’s gun possession to Knights

 and affirm the court’s application of the enhancement.

       We review whether a defendant possessed a firearm for purposes of

 U.S.S.G. § 2D1.1(b)(1), a factual finding, for clear error. United States v.

 Stallings, 463 F.3d 1218, 1220 (11th Cir. 2006).

       Section 2D1.1(b)(1) of the Sentencing Guidelines provides for a two-level

 enhancement “[i]f a dangerous weapon (including a firearm) was possessed” in

 connection with a conspiracy to possess and distribute drugs. U.S.S.G.


                                           7
Case 8:18-cr-00492-JDW-JSS Document 106 Filed 04/06/20 Page 8 of 14 PageID 422
               Case: 19-11232 Date Filed: 04/06/2020 Page: 8 of 13



 § 2D1.1(b)(1). An application note clarifies that “[t]he enhancement should be

 applied if the weapon was present, unless it is clearly improbable that the weapon

 was connected with the offense.” U.S.S.G. § 2D1.1 cmt. n.11. The government

 must show that the firearm had “some purpose or effect with respect to the drug

 trafficking crime; its presence or involvement cannot be the result of accident or

 coincidence.” Stallings, 463 F.3d at 1220 (citations omitted). “Once the

 government shows that a firearm was present, the evidentiary burden shifts to the

 defendant to show that a connection between the firearm and the offense is clearly

 improbable.” United States v. Fields, 408 F.3d 1356, 1359 (11th Cir. 2005)

 (internal quotation marks omitted).

       A co-conspirator’s possession of a firearm may be attributed to a defendant

 for the purpose of applying the enhancement if: “(1) the possessor of the firearm

 was a co-conspirator, (2) the possession was in furtherance of the conspiracy,

 (3) the defendant was a member of the conspiracy at the time of possession, and

 (4) the co-conspirator possession was reasonably foreseeable by the defendant.”

 United States v. Pham, 463 F.3d 1239, 1245 (11th Cir. 2006) (internal quotation

 marks omitted) (citation omitted). “There is a frequent and overpowering

 connection between the use of firearms and narcotics traffic. To that end, we have

 found it reasonably foreseeable that a co-conspirator would possess a firearm

 where the conspiracy involved trafficking in lucrative and illegal drugs.” Id. at


                                           8
Case 8:18-cr-00492-JDW-JSS Document 106 Filed 04/06/20 Page 9 of 14 PageID 423
               Case: 19-11232 Date Filed: 04/06/2020 Page: 9 of 13



 1246 (citations omitted). The offense need not be charged as a conspiracy to

 attribute the relevant conduct of someone else to the defendant so long as they

 were engaged in jointly undertaken criminal activity. U.S.S.G. § 1B1.3, cmt.

 n.3(A). Jointly undertaken criminal activity is defined as any “criminal plan,

 scheme, endeavor, or enterprise undertaken by the defendant in concert with

 others.” U.S.S.G. § 1B1.3 cmt. n.3(A).

       The district court found that Dussell possessed a firearm, the drug sales and

 weapon sales were related and part of the jointly undertaken criminal activity, the

 sale of the weapons furthered the drug transactions, Knights knew that Dussell sold

 both guns and drugs, Knights participated in the drug sales at which guns were

 present, and Knights could have reasonably foreseen that Dussell would possess

 guns in connection with the drug sales. None of these factual findings was clearly

 erroneous. Knights admitted to the probation officer who prepared the PSR that

 she knew about Dussell’s drugs and firearm business. She pled guilty to

 knowingly and intentionally distributing and possessing with intent to distribute

 both cocaine and heroin. Knights and Dussell jointly undertook criminal activity

 to sell these drugs, allowing Dussell’s possession of the firearms to be attributable

 as relevant conduct to Knights under U.S.S.G. § 1B1.3. The scope of the agreed-

 upon activity included the two instances in which Knights held the drugs on her

 person, for which she pled guilty. It was during these two transactions that Dussell


                                           9
Case 8:18-cr-00492-JDW-JSS Document 106 Filed 04/06/20 Page 10 of 14 PageID 424
               Case: 19-11232 Date Filed: 04/06/2020 Page: 10 of 13



 possessed firearms and sold the CI and ATF agent both drugs and firearms.

 Dussell’s possession of the firearms during the transactions was in furtherance of

 the drug sales because selling firearms at the same time as drugs created

 convenience for buyers.

       Further, Dussell’s possession of the firearms was reasonably foreseeable

 given Knights’s knowledge of the scheme. Our precedent makes clear that where,

 as here, a defendant participated in jointly undertaken criminal activity involving

 trafficking in lucrative and illegal drugs, she reasonably could have foreseen that

 her co-conspirator would possess firearms. See Pham, 463 F.3d at 1246. Knights

 admitted that she was aware that Dussell was engaged in both the drug and firearm

 businesses, making it foreseeable that guns would be present at any transaction.

 Knights did not demonstrate that the firearms’ connection to the drug sales was

 clearly improbable.

       For these reasons, we affirm the district court’s application of the two-level

 enhancement for possession of a dangerous weapon.

 B.    The District Court Did Not Clearly Err in Declining to Reduce
       Knights’s Sentence Based on a Minor Participant Reduction.

       Knights argues that the district court erred in denying her a two-level

 reduction in offense level under U.S.S.G. § 3B1.2(b) because of her minor role in

 the offense. We review a district court’s determination of a defendant’s role in the

 offense, a factual finding, for clear error. United States v. Rodriguez De Varon,

                                          10
Case 8:18-cr-00492-JDW-JSS Document 106 Filed 04/06/20 Page 11 of 14 PageID 425
               Case: 19-11232 Date Filed: 04/06/2020 Page: 11 of 13



 175 F.3d 930, 937 (11th Cir. 1999) (en banc). But a “district court’s choice

 between two permissible views of the evidence as to the defendant’s role in the

 offense will rarely constitute clear error so long as the basis of the trial court’s

 decision is supported by the record and does not involve a misapplication of a rule

 of law.” United States v. Cruickshank, 837 F.3d 1182, 1192 (11th Cir. 2016)

 (alteration adopted) (internal quotation marks omitted) (citation omitted). We

 cannot say that the district court’s determination that Knights played more than a

 minor role was clearly erroneous.

       The Sentencing Guidelines provide for a two-level reduction to a

 defendant’s offense level if she was a minor participant in the criminal activity.

 See U.S.S.G. § 3B1.2(b). A minor participant is a person “who is less culpable

 than most other participants in the criminal activity, but whose role could not be

 described as minimal.” U.S.S.G. § 3B1.2, cmt. n.5. The question of whether a

 defendant is entitled to a minor-role reduction is “based on the totality of the

 circumstances and involves a determination that is heavily dependent upon the

 facts of the particular case.” U.S.S.G. § 3B1.2, cmt. n.3(C). The defendant has the

 burden of proving her minor role in the offense by a preponderance of the

 evidence. Rodriguez De Varon, 175 F.3d at 939.

       Two principles guide the determination of whether a defendant played a

 minor role in a criminal scheme: (1) “the defendant’s role in the relevant conduct


                                            11
Case 8:18-cr-00492-JDW-JSS Document 106 Filed 04/06/20 Page 12 of 14 PageID 426
               Case: 19-11232 Date Filed: 04/06/2020 Page: 12 of 13



 for which she has been held accountable at sentencing,” and (2) “her role as

 compared to that of other participants in her relevant conduct.” Id. at 940. The

 fact that a defendant’s role is less than other participants is not dispositive of the

 defendant’s role in the offense because “it is possible that none are minor”

 participants. Id. at 944. Commentary to § 3B1.2 provides additional guidance on

 when a minor role reduction is appropriate, directing district courts to consider:

 (1) the degree of the defendant’s understanding of the scope and structure of the

 crime; (2) the degree of the defendant’s participation in the planning or

 organization of the crime; (3) the degree of the defendant’s decision-making

 authority; (4) the nature and extent of the defendant’s participation in the crime,

 including the acts she performed and how much discretion and responsibility she

 had; and (5) how much the defendant stood to benefit from the crime. U.S.S.G.

 § 3B1.2, cmt. n.3(C).

       Here, the district court did not clearly err when it found that Knights had

 more than a minor role. The court pointed out that Knights actually possessed the

 drugs sold to the CI and ATF agent during the two transactions for which she was

 charged, she was intimately familiar with Dussell’s drug sales because she had

 personal knowledge about transactions with specific customers, she knew which

 drugs Dussell had for sale, and she referred to herself and Dussell as “us” and “we”

 in reference to the drug transactions. Doc. 51 at 18-21. Given Knights’s


                                            12
Case 8:18-cr-00492-JDW-JSS Document 106 Filed 04/06/20 Page 13 of 14 PageID 427
               Case: 19-11232 Date Filed: 04/06/2020 Page: 13 of 13



 knowledge of the drug deals and her possession of the drugs, we are not left with a

 definite and firm conviction that a mistake was made when the district court denied

 her request for a minor role reduction. See Dimitrovski, 782 F.3d at 628.

       Knights nonetheless argues that she was entitled to a minor-role reduction

 because her conduct was minor when compared to Dussell’s larger role of

 organizing and planning the criminal activity. It is true that Dussell, and not

 Knights, planned the transactions and accepted the buyers’ payments. But the fact

 that Dussell played a larger role than Knights does not mean that she played a

 minor role; we have recognized that for some schemes none of the participants will

 qualify as a minor participant. See Rodriguez De Varon, 175 F.3d at 944. Further,

 Knights acknowledged that her living with Dussell supported the inference that she

 benefitted from the drug sales, and that her concerns about customer debts and

 interactions with customers suggested that she helped plan and exercised some

 decision-making authority over the drug sales.

       We therefore affirm the district court’s decision not to reduce Knights’s

 guidelines range under U.S.S.G. § 3B1.2(b).

                                IV.   CONCLUSION

       For these reasons, we affirm the judgment of the district court.

       AFFIRMED.




                                           13
Case 8:18-cr-00492-JDW-JSS Document 106 Filed 04/06/20 Page 14 of 14 PageID 428
                Case: 19-11232 Date Filed: 04/06/2020 Page: 1 of 1


                                      UNITED STATES COURT OF APPEALS
                                         FOR THE ELEVENTH CIRCUIT

                                         ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                       56 Forsyth Street, N.W.
                                                       Atlanta, Georgia 30303


 David J. Smith                                                                                             For rules and forms visit
 Clerk of Court                                                                                             www.ca11.uscourts.gov


                                                      April 06, 2020

 MEMORANDUM TO COUNSEL OR PARTIES

 Appeal Number: 19-11232-CC
 Case Style: USA v. Breanna Knights
 District Court Docket No: 8:18-cr-00492-JDW-JSS-2

 This Court requires all counsel to file documents electronically using the Electronic Case Files ("ECF")
 system, unless exempted for good cause. Non-incarcerated pro se parties are permitted to use the ECF
 system by registering for an account at www.pacer.gov. Information and training materials related to
 electronic filing, are available at www.ca11.uscourts.gov. Enclosed is a copy of the court's decision filed today
 in this appeal. Judgment has this day been entered pursuant to FRAP 36. The court's mandate will issue at a later
 date in accordance with FRAP 41(b).

 The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for filing a petition for
 rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise provided by FRAP 25(a) for inmate
 filings, a petition for rehearing or for rehearing en banc is timely only if received in the clerk's office within the
 time specified in the rules. Costs are governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content
 of a motion for attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

 Please note that a petition for rehearing en banc must include in the Certificate of Interested Persons a complete list
 of all persons and entities listed on all certificates previously filed by any party in the appeal. See 11th Cir. R. 26.1-
 1. In addition, a copy of the opinion sought to be reheard must be included in any petition for rehearing or petition
 for rehearing en banc. See 11th Cir. R. 35-5(k) and 40-1 .

 Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming compensation for time
 spent on the appeal no later than 60 days after either issuance of mandate or filing with the U.S. Supreme Court of
 a petition for writ of certiorari (whichever is later) via the eVoucher system. Please contact the CJA Team at (404)
 335-6167 or cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher system.

 For questions concerning the issuance of the decision of this court, please call the number referenced in the
 signature block below. For all other questions, please call Carol R. Lewis, CC at (404) 335-6179.

 Sincerely,

 DAVID J. SMITH, Clerk of Court

 Reply to: Jeff R. Patch
 Phone #: 404-335-6151

                                                                                        OPIN-1 Ntc of Issuance of Opinion
